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                                      ATTACHMENT A

                                   Property to be Searched

       This warrant authorizes a search of 5087 W Centerline Road, St. Johns, Clinton County,

Michigan, its outbuildings, and curtilage; any vehicles registered to WILSON on the curtilage; the

person of Nathanael WILSON; and cellular or mobile telephones or devices owned by or

associated with Nathanael WILSON.

       The Target Residence is a single-family dwelling with the numerals 5087 affixed to the

mailbox. The Target Residence is a structure, pictured in the photograph below with a red arrow

pointing toward it:
